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 7

 8

 9                          UNITED STATES DISTRICT COURT
10                       SOUTHERN DISTRICT OF CALIFORNIA
11

12     MARGARITA SMITH, an individual,          )   Case No. 3:20-cv-00808-L-WVG
                                                )
13                                              )
                         Plaintiff,             )    NOTICE OF MOTION AND
14                                              )    MOTION OF DEFENDANT
                                                )    CORECIVIC OF TENNESSEE, LLC
15        vs.                                   )    TO DISMISS PLAINTIFF’S
                                                )    COMPLAINT PURSUANT TO
16     CORECIVIC OF TENNESSEE LLC;              )    F.R.C.P. 12(b)(6)
                                                )
17     and DOES 1 through 25, Inclusive,        )   (NO ORAL ARGUMENT UNLESS
                                                )   REQUEST BY COURT PURSUANT
18                       Defendants.            )   TO LOCAL RULE 7.1.d.1.)
                                                )
19                                              )
                                                )   Date:    July 27, 2020
20                                              )   Time:    10:30 a.m.
                                                )   Judge:   Hon. M. James Lorenz
21                                              )   Ctrm.:   5B
                                                )
22                                              )
                                                )   Action Filed: April 29, 2020
23                                              )   Trial Date:   None
24     ///
25     ///
26     ///
27     ///
28

       NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
                       PLAINTIFF’S COMPLAINT PURSUANT TO F.R.C.P. 12(B)(6)
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 1             TO PLAINTIFF AND HER ATTORNEYS OF RECORD:
 2             PLEASE TAKE NOTICE that on July 27, 2020 at 10:30 a.m., or as soon
 3     thereafter as counsel may be heard in Courtroom 5B of the United States District
 4     Court for the Southern District of California, located at 221 West Broadway, San
 5     Diego, California 92101, before the Honorable M. James Lorenz, Defendant
 6     CoreCivic of Tennessee, LLC (“Defendant” and/or “CoreCivic”) will and hereby
 7     does move, pursuant to Federal Rules of Civil Procedure Rule 12(b)(6), for an order
 8     dismissing the Original Complaint of Plaintiff Margarita Smith on the grounds that
 9     that Complaint, and each cause of action asserted therein, fails to state a claim
10     against CoreCivic upon which relief can be granted.
11           This motion is and will be based on this Notice of Motion and accompanying
12     Memorandum of Points and Authorities, all pleadings on file in this matter, and all
13     other evidence or argument as may be submitted to the Court at or prior to the
14     hearing on this matter.
15      I.     INTRODUCTION.
16             Plaintiff was employed by CoreCivic at its Otay Mesa Detention Center
17     (“OMDC”) until she resigned from her employment on March 31, 2020.
18     (Complaint, ¶¶15 and 81). Her Complaint alleges four causes of action for wrongful
19     constructive termination in violation of public policy. She also alleges causes of
20     action for negligent supervision and intentional infliction of emotional distress. The
21     gist of Plaintiff’s Complaint is that she resigned due to safety issues stemming from
22     the Covid-19 pandemic. (Complaint, ¶¶ 44-84).
23             As explained below, Plaintiff’s Complaint suffers from the following defects
24     that mandate dismissal of all of her claims:
25              Plaintiff’s first through fourth causes of action all fail for the identical
26                reason that Plaintiff does not allege facts in her complaint sufficient to
27                establish valid claims of wrongful constructive discharge in violation of
28                public policy because Plaintiff does not allege that she was subjected to any
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       NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
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 1              adverse employment action or any intolerable working conditions “for
 2              performing an act that public policy would encourage, or for refusing to do
 3              something that public policy would discourage.”                Franklin v. The
 4              Monadnock Co., 151 Cal.App.4th 252, 257 (2007).
 5            Plaintiff’s first through fourth causes of action also fail because Plaintiff
 6              does not allege facts sufficient to establish that she was subjected to
 7              intolerable working conditions -- an essential element of a claim for
 8              constructive termination -- because she does not allege that she was
 9              coerced to resign by being subjected to intolerable working conditions in
10              excess of those faced by her co-workers. Turner v. Anheuser-Busch, Inc.,
11              7 Cal.4th 1238, 1247 (1994).
12            Plaintiff’s fifth cause of action for negligent supervision fails because
13              Plaintiff does not allege facts sufficient to establish that CoreCivic knew or
14              should have known that any employee supervising her was unfit or
15              incompetent. Delfino v. Agilent Technologies, Inc., 145 Cal.App.4th 790,
16              815 (2006).
17            Plaintiff’s fifth cause of action fails for the additional reason that it is
18              barred by the doctrine of workers’ compensation exclusivity. Coit Drapery
19              Cleaners, Inc. v. Sequoia Ins. Co., 14 Cal.App.4th 1595, 1605-1606 (1993).
20            Plaintiff’s sixth cause of action for intentional infliction of emotional
21              distress fails because Plaintiff fails to allege facts sufficient to establish that
22              she was subjected to extreme and outrageous conduct with the intention of
23              causing, or reckless disregard of the probability of causing, emotional
24              distress.
25            Plaintiff’s sixth cause of action for intentional infliction of emotional
26              distress fails for the additional reason that she does not allege facts
27              sufficient to establish that she suffered severe or extreme emotional
28              distress. Logan v. Zodiac Services Americas LLC, 2019 WL 3037936 at
                                                   2.
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 1               *2 (C.D. Cal. 2019).
 2            Plaintiff’s sixth cause of action fails for the additional reason that it is
 3               barred by the doctrine of workers’ compensation exclusivity. Milosky v.
 4               Regents of University of California, 44 Cal.4th 876, 902 (2008).
 5     II.   ARGUMENT.
 6           This motion to dismiss Plaintiff’s entire complaint is brought under Rule
 7     12(b)(6) of the Federal Rules of Civil Procedure (“FRCP”) based on Plaintiff’s
 8     “failure to state a claim upon which relief can be granted.” A dismissal under Rule
 9     12(b)(6) should be granted “where there is no cognizable legal theory or an absence
10     of sufficient facts alleged to support a cognizable legal theory.” Navarro v. Block,
11     250 F.3d 729, 732 (9th Cir. 2001). As the Supreme Court has held, to survive a
12     motion to dismiss under Rule 12(b)(6), the [f]actual allegations [of the Complaint]
13     must be enough to raise a right to relief above a speculative level.” Bell Atlantic
14     Corp. v. Twombly, 550 U.S. 544, 555 (2007). Under the standard set in Twombly,
15     the plaintiff must plead “enough facts to state a claim for relief that is plausible on its
16     face.” Id. at 570.
17           Although for purposes of a motion to dismiss the court should generally
18     assume the truth of the allegations in the Complaint, the court need not accept legal
19     conclusions, conclusory allegations, or allegation unsupported by the facts alleged.
20     Holden v. Hagopian, 978 F.2d 1115, 1121 (9th Cir. 1992). See also, Adams v.
21     Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004) (mere “conclusory allegations of law
22     and unwarranted inferences are insufficient to defeat a motion to dismiss.” [citations
23     omitted]); Fayer v. Vaughn, 649 F.3d 1061, 1064 (9th Cir.2011) (the court is not
24     required to “‘assume the truth of legal conclusions merely because they are cast in
25     the form of factual allegations.”’ [citation omitted]).
26     ///
27     ///
28     ///
                                                   3.
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              A.    Plaintiff’s First Through Fourth Causes of Action Should Be
 1                  Dismissed Because Her Complaint Does Not Allege Facts
                    Sufficient To Establish Valid Claims for Wrongful
 2                  Constructive Termination in Violation of Public Policy.
 3           Plaintiff’s first through fourth causes of action allege wrongful constructive
 4     termination in violation of public policy based on California Labor Code §§ 6400, et
 5     seq. (first cause of action), California Code of Regulations, Title 8, §§ 5141, 3380
 6     (second cause of action), 29 U.S.C. § 654(a)(1) (third cause of action), and 29 C.F.R.
 7     §§ 1910.132 (fourth cause of action).      Plaintiff alleges that these statutes and
 8     regulations all pertain to workplace safety. (Complaint, ¶¶ 86-94, 108-109, 126-127,
 9     and 143-145).
10           A wrongful discharge in violation of public policy occurs when an employee
11     “is discharged for performing an act that public policy would encourage, or for
12     refusing to do something that public policy would condemn.” Gantt v. Sentry Ins.,
13     1 Cal.4th 1083, 1090 (1992); Franklin v. The Monadnock Co., 151 Cal.App.4th 252,
14     257 (2007). For example, in Petermann v. International Brotherhood of Teamsters,
15     174 Cal.App.2d 184 (1959), a “seminal California decision” regarding the tort of
16     wrongful termination in violation of public policy, the court held that a plaintiff who
17     alleged he was terminated for refusing his employer’s instruction to provide false
18     testimony under oath stated a valid wrongful discharge claim. Petermann, 174
19     Cal.App.4d at 288-289. Similarly, in Tameny v. Atlantic Richfield Co., 27 Cal.3d
20     167 (1980), the California Supreme Court held that an employee who alleged he was
21     discharged for refusing his employer’s instruction to engage in criminal activity
22     stated a valid claim for wrongful termination in violation of public policy. Tameny,
23     27 Cal.3d at 846. Even in cases involving sexual harassment in the workplace, it is
24     the employees’ refusal to engage in nonconsensual sexual conduct and not simply
25     the sexual harassment alone that establishes the claim for wrongful termination in
26     violation of public policy. Rojo v. Kliger, 52 Cal.3d 65, 91 (1990). As stated by the
27     Court in Rojo:
28     ///
                                                 4.
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             Plaintiffs assert, in essence, that they were terminated for refusing to
 1           engage in conduct that violated fundamental public policy, to wit,
             nonconsensual sexual acts. [Citation omitted]. They also assert, in
 2           effect, that they were discharged in retaliation for attempting to exercise
             a fundamental right—the right to be free from sexual assault and
 3           harassment. Under either theory, plaintiffs, in short, should have been
             granted leave to amend to plead a cause of action for wrongful
 4           discharge in violation of public policy.
 5     Id.
 6           In Hentzel v. Singer, 138 Cal.App.3d 290 (1982), the plaintiff sued his
 7     employer for, inter alia, “tortious wrongful discharge” based on the employer’s
 8     termination of his employment after he complained that the workplace was unsafe do
 9     to the presence of cigarette smoke. Hentzel, 138 Cal.App.3d at 293-294. The court
10     reversed the dismissal of the case on demurrer, holding that the plaintiff had alleged
11     a valid claim for wrongful termination in violation of public policy. Id.
12           Significant here, the court in Hentzel framed the question of whether the
13     employer engaged in unlawful conduct not based on how it addressed the safety
14     complaint but rather on whether it discharged the plaintiff for making the complaint.
15     Id. at 295. As stated by the court:
16           [T]he question is not whether [the employer] acted unlawfully by failing
             to accede to [plaintiff’s] protests, but whether it violated an express
17           statutory objective or undermined a firmly established principle of
             public policy by discharging [plaintiff] for making them.
18

19     Id. at 295.
20           In this matter, in contrast to the cases cited above, Plaintiff does not allege
21     anywhere in her complaint that she refused to perform any act requested of her by
22     CoreCivic in violation of public policy. Further, throughout the entire “Specific
23     Factual Allegations” section of her complaint, Plaintiff does not make a single
24     allegation that she complained or raised any concerns about safety to CoreCivic.
25     (See, Complaint, ¶¶ 14 through 84). Instead, in bare-bones and conclusory fashion,
26     she alleges in paragraph 96 that “Plaintiff complained about her safety concerns to
27     Defendant.”    (See, Complaint, ¶ 96).      It is established that mere “conclusory
28     allegations of law and unwarranted inferences are insufficient to defeat a motion to
                                                 5.
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 1      dismiss.” Adams v. Johnson, 355 F.3d 1179, 1183 (9th Cir. 2004) (citations omitted).
 2      Yet even if Plaintiff’s conclusory allegation that she complained is considered by the
 3      court, her causes of action for wrongful termination in violation of public policy still
 4      fail because her complaint is devoid of allegations that she was subjected to any form
 5      of retaliation by CoreCivic for making the alleged complaint. Quite the opposite,
 6      Plaintiff simply alleges that she had concerns about her safety resulting from the way
 7      CoreCivic was allegedly responding to the covid-19 pandemic and that she resigned.
 8      Plaintiff seeks to hold CoreCivic accountable for its alleged failure to accede to her
 9      alleged protests, a theory of liability that was expressly rejected in Hentzel. 183
10      Cal.App.3d at 295.
11            Because Plaintiff does not allege that she refused to preform any act prohibited
12      by public policy or that she was subjected to retaliation of any kind for making safety
13      related complaints, she has failed to plead facts sufficient to establish valid claims
14      for wrongful constructive termination in violation of public policy and accordingly,
15      these claims (first through fourth causes of action) should all be dismissed.
16             B.     Plaintiff’s First Through Fourth Causes of Action Should Be
                      Dismissed Because Her Complaint Does Not Allege Facts
17                    Sufficient To Establish A Constructive Discharge.
18            Plaintiff admits that she resigned from her employment with CoreCivic.
19      (Complaint, ¶ 81).       Because she was not involuntary terminated from her
20      employment with CoreCivic, Plaintiff bases her wrongful termination claims on a
21      theory of alleged constructive discharge. (See, Complaint, ¶¶ 99, 117, 134 and 151).
22      Turner v. Anheuser-Busch, Inc., 7 Cal.4th 1238, 1251 (1994) (“Standing alone,
23      constructive discharge is neither a tort nor a breach of contract, but a doctrine that
24      transforms what is ostensibly a resignation into a firing.”). In this regard, in each of
25      her first four causes of action, Plaintiff alleges in conclusory manner that she was
26      subjected to a constructive termination. (Complaint, ¶¶ 99, 117, 134 and 151).
27      Because Plaintiff’s wrongful termination claims are based exclusively on a
28      constructive termination theory, Plaintiff’s failure to sufficiently plead a constructive
                                                   6.
        NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
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 1      termination means that her claims for wrongful termination all fail.           Lenk v.
 2      Monolithic Power Systems, Inc., 2015 WL 7429498 at *8 (N.D. Cal. 2015) (“a
 3      plaintiff must sufficiently plead constructive discharge to avail himself of the tort of
 4      constructive discharge in violation of public policy,…”); Jones v. Dept. of
 5      Corrections & Rehabilitation, 152 Cal.App.4th 1367, 1381 (2007) (summary
 6      judgment affirmed on retaliation claim where plaintiff was not constructively
 7      terminated and suffered no other adverse employment actions such as demotion,
 8      suspension or poor performance reviews).
 9            “A constructive discharge is the practical and legal equivalent of a dismissal –
10      the employee’s resignation must be employer-coerced, not caused by the voluntary
11      action of the employee or by conditions or matters beyond the employer’s control.”
12      Turner, 7 Cal.4th at 1248.      To establish a valid claim based on constructive
13      discharge, Plaintiff must plead facts that she was subjected to intolerable working
14      conditions. Watson v. Nationwide Ins. Co., 823 F.2d 360, 361 (9th Cir. 1987) (“[a]
15      constructive discharge occurs when, looking at the totality of the circumstances, a
16      ‘reasonable person in [the employee’s] position would have felt that he was forced to
17      quit because of intolerable and discriminatory working conditions.’”). This includes
18      pleading facts that Plaintiff was subjected to differential treatment. Id. See also
19      Turner, 7 Cal.4th at 1247 (“An employee is protected from … unreasonably harsh
20      conditions, in excess of those faced by his [or her] co-workers. He [or she] is not,
21      however, guaranteed a working environment free of stress.’”) (emphasis added);
22      quoting Goldsmith v. Mayor and City of Baltimore, 987 F.2d 1064, 1072 (4th Cir.
23      1993). As further stated in Turner:
24            Under the cases, an employee cannot simply “quit and sue,” claiming he
              or she was constructively discharged. The conditions giving rise to the
25            resignation must be sufficiently extraordinary to overcome the normal
              motivation of a competent, diligent, and reasonable employee to remain
26            on the job and earn a livelihood and the serve his or her employer. The
              proper focus is on whether the resignation was coerced, not whether it
27            was simply one rational option for the employee.
28      Id.
                                                   7.
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 1            Here, Plaintiff has not and cannot meet this pleading standard because the
 2      basis of her complaint – the COVID-19 pandemic – impacted every employee at the
 3      CoreCivic facility where she was employed. Indeed, according to her complaint,
 4      Plaintiff’s alleged safety concerns were based entirely on the global outbreak of
 5      COVID-19 and CoreCivic’s response to the pandemic at the correctional facility
 6      where she was employed. (See, Complaint, ¶¶ 29 – 84). Plaintiff does not allege
 7      any facts that she was singled out for “differential” treatment or that she was
 8      “coerced” to resign.      Plaintiff also alleges no facts that she was subjected to
 9      “unreasonably harsh conditions, in excess of those faced by [her] co-workers.”
10      Turner, 7 Cal.4th at 1247 (emphasis added).
11            “[T]he standard by which a constructive discharge is determined is an
12      objective one – the question is ‘whether a reasonable person faced with the allegedly
13      intolerable actions or conditions of employment would have no reasonable
14      alternative except to quit.’” Turner, 7 Cal.4th at 1027. As Plaintiff has failed to
15      plead facts that she was subjected to intolerable working conditions, she has failed to
16      plead facts sufficient to establish a constructive termination. Plaintiff’s first through
17      fourth causes of action should be dismissed for this reason as well.
18             C.     Plaintiff’s Fifth Cause of Action for Negligent Supervision
                      Should Be Dismissed Because It Is Barred By Worker’s
19                    Compensation Exclusivity.
20            It is well established that the California Workers' Compensation Act is the
21      exclusive remedy for injuries incurred by an employee arising out of and in the
22      course of his or her employment. Cal. Labor Code, §§ 3600, 3602. The basis for the
23      exclusivity rule is the presumed “compensation bargain” pursuant to which the
24      employer assumes liability for industrial personal injury without regard to fault in
25      exchange for limitations on the amount of that liability. Shoemaker v. Myers,
26      52 Cal.3d 1, 16 (1990).
27            Negligence claims against employers are among those that are barred by
28      workers' compensation exclusivity. See Coit Drapery Cleaners, Inc. v. Sequoia Ins.
                                                   8.
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 1      Co., 14 Cal.App.4th 1595, 1605-1606 (1993) (claim against employer for negligent
 2      supervision in connection with alleged sexual harassment and wrongful termination
 3      of employee is barred by workers' compensation exclusivity principle);
 4      Vuillemainroy v. American Rock & Asphalt, Inc., 70 Cal.App.4th 1280, 1282 (1999)
 5      (employer cannot be sued even when negligence constitutes a crime). Moreover, if
 6      the injury arises “out of and in the course of the employment, the exclusive remedy
 7      provisions apply notwithstanding that the injury resulted from... intentional
 8      conduct... even though the...conduct might be characterized as egregious.”
 9      Shoemaker, 52 Cal.3d 1 at 15.
10            Here, Plaintiff’s complaint is based entirely on conduct that occurred in the
11      workplace.    By their very nature, such allegations fall squarely within the
12      employment “compensation bargain” and necessarily arise out of and in the course
13      of an employment relationship. Accordingly, Plaintiff's negligence-based claim is
14      barred. See Shoemaker, 52 Cal.3d 1 at 25 (workers' compensation was the exclusive
15      remedy for plaintiff’s claims of intentional infliction of emotional distress and
16      wrongful termination related to defendant's alleged harassment and termination in
17      retaliation for “whistleblowing”).
18            Finally, California Labor Code section 3202 provides that the workers'
19      compensation law “shall be liberally construed by the courts with the purpose of
20      extending [its] benefits for the protection of persons injured in the course of their
21      employment.” Cal. Labor Code, § 3202; see also Shoemaker, 52 Cal.3d at 19
22      (workers' compensation jurisdiction may not be simply conferred or avoided at the
23      option of the employee).
24            Based on the foregoing, Plaintiff’s fourth cause of action for negligent
25      supervision is barred by the workers' compensation exclusivity provisions in the
26      California Labor code and should be dismissed.
27

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                                                 9.
        NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
                        PLAINTIFF’S COMPLAINT PURSUANT TO F.R.C.P. 12(B)(6)
                                                           USDC Case No. 3:20-cv-00808-L-WVG
     Case 3:20-cv-00808-L-DEB Document 6 Filed 06/29/20 PageID.47 Page 14 of 17



               D.    Plaintiff’s Fifth Cause of Action Should Be Dismissed
 1                   Because Plaintiff Has Failed To Please Facts That Establish
                     The Essential Factual Elements Of A Claim For Negligent
 2                   Supervision.
 3
              To state a valid claim for negligent supervision, Plaintiff must plead facts
 4
        establishing the following:    (i) that plaintiff was harmed by an employee of
 5
        CoreCivic; (ii) that CoreCivic was responsible for the harm because it knew or
 6
        should have known that the employee was unfit/incompetent; and (iii) the
 7
        unfitness/incompetence caused the plaintiff's harm. CACI 426; Delfino v. Agilent
 8
        Technologies, Inc., 145 Cal.App.4th 790, 815 (2006); Doe v. Capital Cities,
 9
        50 Cal.App.4th 1038, 1054 (1996).
10
              Here, Plaintiff has failed to allege any facts regarding the core elements of a
11
        claim for negligent supervision. Instead, Plaintiff alleges only that CoreCivic’s
12
        “supervisory employees failed to provide a safe work environment in violation of
13
        California and federal law” and that CoreCivic “knew or should have known that this
14
        conduct was unlawful and in violation of California law.” (Complaint, ¶¶ 159 and
15
        160). Because Plaintiff has failed to allege facts establishing the essential elements
16
        of a claim for negligent supervision, that claim fails as a matter of law for this
17
        additional reason.
18
               E.    Plaintiff’s Sixth Cause of Action for Intentional Infliction of
19                   Emotional Distress Should Be Dismissed Because It Is
                     Barred By Worker’s Compensation Exclusivity.
20
              It is well-established that a claim for intentional infliction of emotional
21
        distress (“IIED”) based on conduct that occurs in the workplace is barred by the
22
        exclusivity remedy provisions of California’s Workers’ Compensation Act, Labor
23
        Code Section 3600, et seq.       Milosky v. Regents of University of California,
24
        44 Cal.4th 876, 902 (2008). Significant here, workers’ compensation exclusivity
25
        bars IIED claims based on conduct that occurs in the workplace even where the
26
        plaintiff/employee alleges whistleblower retaliation and/or that she was terminated in
27
        violation of public policy. See, Shoemaker v. Meyers, 52 Cal.3d 1, 25 (1990).
28
                                                 10.
        NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
                        PLAINTIFF’S COMPLAINT PURSUANT TO F.R.C.P. 12(B)(6)
                                                           USDC Case No. 3:20-cv-00808-L-WVG
     Case 3:20-cv-00808-L-DEB Document 6 Filed 06/29/20 PageID.48 Page 15 of 17



 1            While there is an exception to workers’ compensation exclusivity where the
 2      conduct alleged “contravenes a fundamental public policy,” that exception only
 3      permits a Tameny claim for wrongful termination in violation of public policy; it
 4      does not allow for a separate claim of IIED. Milosky, 44 Cal.4th at 902-903. As
 5      explained by the Court in Milosky:
 6            The exception for conduct that “contravenes fundamental public policy”
              is aimed at permitting a Tameny action to proceed despite the workers’
 7            compensation exclusivity rule. … As to the exception for conduct that
              “exceeds the risks inherent in the employment relationship,” it might
 8            seem at first blush to apply here – based on the argument that
              whistleblower retaliation is not a risk inherent in the employment
 9            relationship – but we rejected that same argument in Shoemaker
              [citation omitted]. Like plaintiffs here, the plaintiff in Shoemaker
10            alleged whistleblower retaliation and also a Tameny cause of action,
              and although he incorporated these allegations as part of his claims for
11            intentional infliction of emotional distress, we held workers’
              compensation to be his exclusive remedy and affirmed the trial court’s
12            dismissal of that cause of action.
13
        Id. at 903.
14
              Milosky’s narrow exception to workers’ compensation exclusivity that allows
15
        for a Tameny claim but not a claim for IIED based on the same conduct was
16
        recognized in Logan v. Zodiac Services Americas LLC, 2019 WL 3037936 (C.D.
17
        Cal. 2019), where the court, citing Milosky, stated the following:
18
              The California Supreme Court has subsequently clarified that the
19            exception for conduct that “contravenes a fundamental public policy” is
              aimed at allowing actions for wrongful termination (referred to a
20            Tameny actions) to proceed, and thus the exception is not applicable to
              an IIED claim.
21
        Id.
22
              Regardless of its alleged underpinnings, Plaintiff’s IIED claim is based
23
        entirely on conduct that occurred in the workplace. For this reason, it is barred by
24
        workers’ compensation exclusivity and should be dismissed.
25
        ///
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        ///
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28
                                                  11.
        NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
                        PLAINTIFF’S COMPLAINT PURSUANT TO F.R.C.P. 12(B)(6)
                                                           USDC Case No. 3:20-cv-00808-L-WVG
     Case 3:20-cv-00808-L-DEB Document 6 Filed 06/29/20 PageID.49 Page 16 of 17



 1     III.   CONCLUSION.
 2            For all of the reasons stated herein, CoreCivic’s motion to dismiss Plaintiff’s
 3      Complaint should be granted in its entirety.
 4
        Dated: June 29, 2020                            GLEASON & FAVAROTE, LLP
 5                                                      PAUL M. GLEASON
                                                        JING TONG
 6
                                                    By: /s/ Paul M. Gleason
 7                                                               Paul M. Gleason
 8                                                      Attorneys for Defendant CORECIVIC
                                                        OF TENNESSEE LLC
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        NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF TENNESSEE, LLC TO DISMISS
                        PLAINTIFF’S COMPLAINT PURSUANT TO F.R.C.P. 12(B)(6)
                                                           USDC Case No. 3:20-cv-00808-L-WVG
     Case 3:20-cv-00808-L-DEB Document 6 Filed 06/29/20 PageID.50 Page 17 of 17



 1                                     PROOF OF SERVICE
 2
              I, Paul M. Gleason, declare:
 3
              I am and was at the time of the service mentioned in this declaration,
 4
        employed in the County of Los Angeles, California. I am over the age of 18 years
 5
        and not a party to the within action. My business address is Gleason & Favarote,
 6
        LLP, 4014 Long Beach Blvd., Suite 300, Long Beach, CA 90807.
 7
              On June 29, 2020, I served a copy(ies) of the following document(s):
 8
         NOTICE OF MOTION AND MOTION OF DEFENDANT CORECIVIC OF
 9       TENNESSEE, LLC TO DISMISS PLAINTIFF’S COMPLAINT PURSUANT
                                          TO F.R.C.P. 12(b)(6)
10      on the parties to this action as follows:
         Attorney                              Party(ies) Served     Method of
11                                                                   Service
         Josh D. Gruenberg, Esq.               Counsel for Plaintiff CM/ECF
12       Colette N. Mahon, Esq.                MARGARITA
         GRUENBERG LAW                         SMITH
13       2155 First Avenue
         San Diego, CA 92101
14       Tel: (619) 230-1234
         Fax: (619) 230-1074
15       josh@gruenberglaw.com
         colettem@gruenberglaw.com
16
               [BY CM/ECF SYSTEM] I caused the above-referenced document(s) to be
17             sent by electronic transmission to the Clerk’s Office using the CM/ECF
               System for filing which generated a Notice of Electronic Filing to the
18             CM/ECF registrants in this case.
19            I declare that I am a member of the bar of this court. I declare under penalty
20      of perjury under the laws of the United States that the above is true and correct, and
21      that this declaration was executed on June 29, 2020, at Long Beach, California.
22

23
                                                    /s/ Paul M. Gleason
24                                                               Paul M. Gleason
25

26

27

28

                                                   1.
                                          PROOF OF SERVICE
                                                                USDC Case No. 3:20-cv-00808-L-WVG
